Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 1 of 21 Page ID #4459




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS
                         EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
           Plaintiff,                  )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )   Case No. 3:18-cv-966-SMY-MAB
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT          )
                                       )
                                       )
           Defendants.                 )
                                       )


                         DEFENDANTS’ TRIAL BRIEF
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 2 of 21 Page ID #4460




                                             TABLE OF CONTENTS

I.     INTRODUCTION............................................................................................................. 1

II.    ISSUES TO BE DECIDED .............................................................................................. 1

       A.        COPYRIGHT INFRINGEMENT ........................................................................... 1

       B.        DEFENDANTS’ AFFIRMATIVE DEFENSES .................................................... 3

                 1.        Fair Use, De Minimis Use, and Authorized Use ......................................... 3

                 2.        The Elements of the Affirmative Defense of Waiver ................................. 6

                 3.        The Elements of the Affirmative Defense of Estoppel ............................... 7

       C.        DAMAGES-RELATED ISSUES ........................................................................... 8

                 1.        Whether it is the Jury or the Court That Decides the Amount of
                           Disgorgement Damages .............................................................................. 8

                 2.        The Respective Burdens of Proof and Evidentiary Issues Related to
                           Disgorgement of Profits ............................................................................ 11

III.   CONCLUSION ............................................................................................................... 14




                                                               i
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 3 of 21 Page ID #4461




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

16 Casa Duse, LLC v. Merkin,
   791 F.3d 247 (2d Cir. 2015).......................................................................................................3

Balsley v. LFP, Inc.,
   691 F.3d 747 (6th Cir. 2012) ...................................................................................................10

Bell v. Taylor,
    827 F.3d 699 (7th Cir. 2016) ...................................................................................................12

Bourne Co. v. Hunter Country Club, Inc.,
   990 F.2d 934 (7th Cir. 1993) .....................................................................................................7

Chauffeurs, Teamsters & Helpers, Local No. 391 v. Terry,
   494 U.S. 558 (1990) ...................................................................................................................8

City of Monterey v. Del Monte Dunes at Monterey, Ltd.,
    526 U.S. 687 (1999) ...................................................................................................................9

Dash v. Mayweather,
   731 F.3d 303 (4th Cir. 2013) ...................................................................................................13

Design Basics LLC v. Campbellsport Bldg. Supply, Inc.,
   No. 13 Civ. 560, 2016 WL 3189202 (E.D. Wis. June 7, 2016) .............................................6, 7

Design Basics, LLC v. Kerstiens Homes & Designs, Inc.,
   1 F.4th 502 (7th Cir. 2021) ....................................................................................................1, 2

Durham Indus., Inc. v. Tomy Corp.,
   630 F.2d 905 (2d Cir. 1980).......................................................................................................2

Eagle Servs. Corp. v. H2O Indus. Servs., Inc.,
   532 F.3d 620 (7th Cir. 2008) ...................................................................................................12

ECIMOS LLC v. Carrier Corp.,
   971 F.3d 616 (6th Cir. 2020) ...................................................................................................10

Fair Isaac Corp. v. Federal Insurance Co.,
   468 F. Supp. 3d 1110 (D. Minn. 2020) ................................................................................9, 10

Feist Publications, Inc. v. Rural Telephone Service Co.,
   499 U.S. 340 (1991) ...............................................................................................................1, 3




                                                                    ii
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 4 of 21 Page ID #4462




Fifty-Six Hope Rd. Music, Ltd. v. A.V.E.L.A., Inc.,
    778 F.3d 1059 (9th Cir. 2015) .................................................................................................10

Fuller Products Co. v. Fuller Brush Co.,
   299 F.2d 772 (7th Cir. 1962) .....................................................................................................8

G. R. Leonard & Co. v. Stack,
   386 F.2d 38 (7th Cir. 1967) ...................................................................................................4, 5

Gaste v. Kaiserman,
   863 F.2d 1061 (2d Cir. 1988)...................................................................................................10

Goldman v. Gagnard,
   757 F.3d 575 (7th Cir. 2014) .....................................................................................................6

Google LLC v. Oracle Am., Inc.,
   141 S. Ct. 1183 (2021) ...............................................................................................................3

Gordon v. Nextel Commc’ns & Mullen Advert., Inc.,
   345 F.3d 922 (6th Cir. 2003) .....................................................................................................5

Gracen v. Bradford Exch.,
   698 F.2d 300 (7th Cir. 1983) .............................................................................................2, 3, 6

Granite State Ins. Co. v. Smart Modular Techs., Inc.,
   76 F.3d 1023 (9th Cir. 1996) .....................................................................................................7

Hard Candy, LLC v. Anastasia Beverly Hills, Inc.,
   921 F.3d 1343 (11th Cir. 2019) ...........................................................................................8, 10

Huthwaite, Inc. v. Ecolab, Inc.,
   No. 05 Civ. 3273, 2006 WL 929262 (N.D. Ill. Jan. 4, 2006) ....................................................5

Isringhausen Import, Inc. v. Nissan North America, Inc.,
    No. 10 Civ. 3253, 2011 WL 6029733 (C.D. Ill. Dec. 5, 2011) .................................................4

ITOFCA, Inc. v. MegaTrans Logistics, Inc.,
   322 F.3d 928 (7th Cir. 2003) .....................................................................................................6

Kennedy v. Gish, Sherwood & Friends, Inc.,
   143 F. Supp. 3d 898 (E.D. Mo. 2015)........................................................................................5

Leigh v. Engle,
   727 F.2d 113 (7th Cir. 1984) ...................................................................................................13

McRoberts Software, Inc. v. Media 100, Inc.,
  329 F.3d 557 (7th Cir 2003) ....................................................................................................10




                                                                   iii
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 5 of 21 Page ID #4463




Motorola Sols., Inc. v. Hytera Commc’ns Corp.,
   495 F. Supp. 3d 687 (N.D. Ill. 2020) ...................................................................................9, 10

Navarro v. Procter & Gamble Co.,
   No. 1:17 Civ. 406, 2021 WL 1169084 (S.D. Ohio Mar. 29, 2021) .................................8, 9, 10

Ocean Atl. Woodland Corp. v. DRH Cambridge Homes, Inc.,
   No. 02 Civ. 2523, 2003 WL 1720073 (N.D. Ill. Mar. 31, 2003) ...............................................6

On Davis v. The Gap, Inc.,
   246 F.3d 152 (2d Cir. 2001).....................................................................................................13

Oracle Am., Inc. v. Google, Inc.,
   No. 10 Civ. 03561 (N.D. Cal. 2016) ..........................................................................................4

Petrella v. Metro-Goldwyn-Mayer, Inc.,
   572 U.S. 663 (2014) ...................................................................................................................8

Photographic Illustrators Corp. v. Orgill, Inc.,
   953 F.3d 56 (1st Cir. 2020) ........................................................................................................6

Polar Bear Prods., Inc. v. Timex Corp.,
   384 F.3d 700 (9th Cir. 2004) ...................................................................................................13

Sandoval v. New Line Cinema Corp.,
   147 F.3d 215 (2d Cir. 1998).......................................................................................................5

Sheldon v. Metro-Goldwyn Pictures Corp.,
   106 F.2d 45 (2d Cir. 1939).......................................................................................................13

Solid Oak Sketches, LLC v. 2K Games, Inc.,
    449 F. Supp. 3d 333 (S.D.N.Y. 2020)........................................................................................4

Soos & Assocs., Inc. v. Five Guys Enters., LLC,
   425 F. Supp. 3d 1004 (N.D. Ill. 2019) ...................................................................................6, 7

Sullivan v. Flora, Inc.,
    No. 15-Civ-298, 2017 WL 1487624 (W.D. Wis. Apr. 25, 2017) ............................................13

Taylor v. Meirick,
   712 F.2d 1112 (7th Cir. 1983) .................................................................................................12

Tex. Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc.,
   895 F.3d 1304 (Fed. Cir. 2018)........................................................................................8, 9, 10

Toney v. Rosewood Care Ctr.,
   No. 98 Civ. 693, 2002 WL 992642 (N.D. Ill. May 15, 2002) ...........................................11, 12




                                                                    iv
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 6 of 21 Page ID #4464




Tull v. United States,
    481 U.S. 412 (1987) ...................................................................................................................8

Univ. of Colorado Found., Inc. v. Am. Cyanamid Co.,
   196 F.3d 1366 (Fed. Cir. 1999)................................................................................................13

VMG Salsoul, LLC v. Ciccone,
  824 F.3d 871 (9th Cir. 2016) .....................................................................................................5

Rules

Fed. R. Civ. P. 26 ...........................................................................................................................11

Local Rule 16.2 ..............................................................................................................................11




                                                                       v
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 7 of 21 Page ID #4465




I.      INTRODUCTION

        Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., and

Visual Concepts Entertainment (“Take-Two”) and World Wrestling Entertainment, Inc.

(“WWE”) (collectively, “Defendants”) respectfully submit this trial brief to address legal

disputes that have arisen between the parties in anticipation of trial. In particular, this trial brief

addresses the following issues: (1) Plaintiff Catherine Alexander’s (“Plaintiff”) last minute

attempt to avoid proving that she owns valid copyrights in the asserted tattoos; (2) certain legal

issues regarding Defendants’ affirmative defenses, including their defenses of waiver and

estoppel; and (3) the respective burdens of proof and evidentiary issues related to disgorgement

of profits.

II.     ISSUES TO BE DECIDED

        A.      Copyright Infringement

        In Feist Publications, Inc. v. Rural Telephone Service Co., the Supreme Court held that

“[t]o establish infringement, two elements must be proven: (1) ownership of a valid copyright,

and (2) copying of constituent elements of the work that are original.” 499 U.S. 340, 361 (1991).

Relatedly, the Seventh Circuit recently confirmed that the second element of copyright

infringement requires a showing of both actual copying and substantial similarity between the

works at issue. See Design Basics, LLC v. Kerstiens Homes & Designs, Inc., 1 F.4th 502, 503

(7th Cir. 2021) (finding that embedded in the “copying” element are “two distinct questions:

whether the defendant copied the protected work and whether the copying constituted an

improper appropriation,” and concluding that improper appropriation “requires substantial

similarity”).




                                                   1
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 8 of 21 Page ID #4466




        Plaintiff moved for and this Court granted partial summary judgment only “as to the

copying element.” Dkt. 228, at 5. 1 Yet, on August 26, 2021, the day before the parties provided

the Court with the First Amended Pretrial Order, Plaintiff indicated for the first time that she

believes that, despite not moving for and never being granted summary judgment on the first

element—ownership of a valid copyright—this Court nevertheless decided that issue in her

favor, because the Court’s opinion suggested that it was “undisputed that Alexander holds valid

copyrights for the five tattoos at issue.” Id.

        The Court, however, did not grant Plaintiff summary judgment on the first element of her

claim. Plaintiff moved for summary judgment solely “on the issue of copying,” Dkt. 139, at 1,

and this Court granted summary judgment only “as to the copying element.” Dkt. 228, at 5. The

first element was never briefed and merely holding a certificate of registration from the

Copyright Office is not the same thing as proving ownership of a valid copyright. For example,

in Gracen v. Bradford Exchange, the Seventh Circuit held that a painting of Dorothy from The

Wizard of Oz copied from a photograph from the original film, despite being registered with the

Copyright Office and having marked differences from the photograph, was not copyrightable

because it was created without authorization from the photograph’s copyright owner. 698 F.2d

300, 305 (7th Cir. 1983) (citing Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 910 (2d Cir.

1980) (holding that “reproduction” of pre-existing Disney characters “in plastic . . . does not

constitute originality”)). Likewise, when multiple authors are involved in the creation of a work,

courts recognize that one of them may be the “dominant author” due to “factual indicia of


1
    As Defendants noted at summary judgment, Plaintiff never addressed the separate issue of substantial similarity.
    This Court disagreed with Defendants’ argument that Plaintiff must “establish legally actionable copying,”
    holding that Defendants’ argument is “contrary to Seventh Circuit copyright law.” Id. In Design Basics,
    however, the Seventh Circuit made clear that a plaintiff must prove “whether the copying constituted an
    improper appropriation.” 1 F.4th at 503. Thus, Defendants respectfully suggest that Plaintiff should be required
    to prove substantial similarity at trial, but in any case, preserve the issue of substantial similarity for appeal.



                                                          2
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 9 of 21 Page ID #4467




ownership and authorship,” such as “decisionmaking authority, billing, and written agreements

with third parties.” 16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 260 (2d Cir. 2015). This

occurs even where the dominant author is not the actor that fixes the work in a tangible medium.

Id.

          Here, the evidence at trial will show that two of the tattoos that Plaintiff inked were

copied from Mr. Orton’s preexisting back tattoos. As a result, Plaintiff does not own valid

copyrights in them under Gracen. Moreover, Mr. Orton was the final decisionmaking authority

concerning what would and would not be inked on his body, making him the dominant author

and owner of his tattoos. Neither issue was before the Court on summary judgment and, thus, it

is and remains Plaintiff’s burden at trial to prove ownership of a valid copyright. Feist, 499 U.S.

at 361.

          B.     Defendants’ Affirmative Defenses

                 1.      Fair Use, De Minimis Use, and License

          With regard to Defendants’ affirmative defenses of fair use, de minimis use, and license,

the Court’s summary judgment order largely addressed them and, thus, Defendants do not

readdress those issues here other than to make three brief points. First, there are two relevant

authorities that were not addressed in the Court’s summary judgment order. Earlier this year

(after this Court’s summary judgment decision), the Supreme Court issued a decision in Google

LLC v. Oracle America, Inc., finding that Google’s verbatim copying of Oracle’s copyrighted

work was fair use. 141 S. Ct. 1183 (2021). It held that fair use is a “mixed question of fact and

law; that reviewing courts should appropriately defer to the jury’s findings of underlying facts;

but that the ultimate question whether those facts showed a ‘fair use’ is a legal question for

judges to decide de novo.” Id. at 1199. It also provided useful guidance with regard to the

application of the four fair use factors. Id. at 1202–08. Of particular note, the jury instructions


                                                    3
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 10 of 21 Page ID #4468




 on fair use in that case provided the jury with a detailed description of each fair use factor so that

 the jury would understand the principles underpinning their factual finding. See Oracle Am., Inc.

 v. Google, Inc., No. 10 Civ. 03561 (N.D. Cal. 2016), Final Charge to the Jury (Phase One), Dkt.

 1950 (describing each fair use factor in detail). Defendants intend to propose similar jury

 instructions in this case.

         In addition, this Court’s summary judgment decision did not cite to the Southern District

 of New York’s decision in Solid Oak Sketches, LLC v. 2K Games, Inc., which found that Take-

 Two’s use of tattoos in the video game series NBA 2K was fair, de minimis, and authorized by an

 implied license. 449 F. Supp. 3d 333, 343–351 (S.D.N.Y. 2020). Tellingly, Plaintiff did not

 mention this opinion in her trial brief, but instead misleadingly cited to an earlier opinion in that

 case in the procedure posture of a motion for judgment on the pleadings. Dkt. 246, at 3. The

 court denied that motion until the factual record had been fully developed, and then granted

 summary judgment to Take-Two. 449 F. Supp. 3d at 353.

         Second, Defendants note that this Court’s summary judgment order questioned

 “[w]hether the Seventh Circuit recognizes [a de minimis use defense] to copyright infringement

 claims.” Dkt. 228, at 11. The Seventh Circuit in G. R. Leonard & Co. v. Stack, however, held

 that “[e]ven where there is some copying, that fact is not conclusive of infringement. Some

 copying is permitted. In addition to copying, it must be shown that this has been done to an

 unfair extent.” 386 F.2d 38, 39 (7th Cir. 1967). The court then affirmed the district court’s

 “finding of de minimis copying.” Id. Likewise, in Isringhausen Import, Inc. v. Nissan North

 America, Inc., the court held that a de minimis use defense was properly pleaded where the

 infringement “is so trivial as to fall below the quantitative threshold of substantial similarity,”

 such as “where the average audience would not recognize the appropriation.” No. 10 Civ. 3253,




                                                   4
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 11 of 21 Page ID #4469




 2011 WL 6029733, at *6 (C.D. Ill. Dec. 5, 2011); see also Huthwaite, Inc. v. Ecolab, Inc., No.

 05 Civ. 3273, 2006 WL 929262, at *1 (N.D. Ill. Jan. 4, 2006) (refusing to strike de minimis use

 defense).

        Moreover, in addition to the Seventh Circuit in Leonard, the Second, Sixth, and Ninth

 Circuits have adopted the de minimis use defense. Sandoval v. New Line Cinema Corp., 147

 F.3d 215, 217 (2d Cir. 1998); Gordon v. Nextel Commc’ns & Mullen Advert., Inc., 345 F.3d 922,

 924–25 (6th Cir. 2003); VMG Salsoul, LLC v. Ciccone, 824 F.3d 871, 878 (9th Cir. 2016). As

 those cases make clear, the ultimate question is “the observability of the copyrighted work in the

 allegedly infringing work.” Sandoval, 147 F.3d at 217. “Observability is determined by the

 length of time the copyrighted work appears in the allegedly infringing work, and its prominence

 in that work as revealed by the lighting and positioning of the copyrighted work.” Id.

        Third, with regard to Defendants’ license defense, Defendants note that the Court

 concluded that “Orton granted WWE the right to license his likeness to third parties and WWE

 then licensed Take-Two to use Orton’s likeness in the WWE 2K games.” Dkt. 228, at 6–7. As to

 the license from Plaintiff to Mr. Orton, the Court found that “[a]n implied license is created when

 ‘(1) a person (the licensee) requests the creation of a work, (2) the creator (the licensor) makes

 that particular work and delivers it to the licensee who requested it, and (3) the licensor intends

 that the licensee-requestor copy and distribute her work.’” Id. at 6. The Court further found that

 “[t]he first and second prongs of the analysis are not contested; the dispute surrounds

 Alexander’s intent and the scope of any implied license.” Id. at 7.

        In deciding the question of Plaintiff’s intent, the jury “may look to objective evidence of

 [Plaintiff’s] intent,” id. at 6, such as “[c]ommon industry practice.” Kennedy v. Gish, Sherwood

 & Friends, Inc., 143 F. Supp. 3d 898, 909 (E.D. Mo. 2015). Silence or “lack of objection” may




                                                   5
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 12 of 21 Page ID #4470




 also be equivalent to a license. ITOFCA, Inc. v. MegaTrans Logistics, Inc., 322 F.3d 928, 940

 (7th Cir. 2003). And, as the Seventh Circuit held in Gracen, an implied license may include the

 right to sublicense. 698 F.2d at 303; cf. Photographic Illustrators Corp. v. Orgill, Inc., 953 F.3d

 56, 64 (1st Cir. 2020) (upholding implied sublicense).

                2.      The Elements of the Affirmative Defense of Waiver

        In Goldman v. Gagnard, the Seventh Circuit made clear that a copyright owner may

 waive her copyrights and that, if she does, use of those copyrights is not infringement. 757 F.3d

 575, 579 (7th Cir. 2014). The purpose of the doctrine is to provide a flexible tool for

 acknowledging that “a right may be taken away from its holder as a penalty for failure to assert

 in a clear and timely manner.” See id.; Soos & Assocs., Inc. v. Five Guys Enters., LLC, 425 F.

 Supp. 3d 1004, 1012 (N.D. Ill. 2019).

        In this case, Defendants have asserted that Plaintiff waived her rights in the tattoos that

 she inked on the well-known wrestler Randy Orton. Answ. (Dkt. No. 188) ¶ 106. Although the

 doctrine of waiver is a “flexible” principle with no “definite and rigid meaning,” Goldman, 757

 F.3d at 579, cases before and after Goldman have held that, to establish waiver, a defendant need

 show only that the copyright owner made a “voluntary, intentional relinquishment of a known

 right.” Design Basics LLC v. Campbellsport Bldg. Supply, Inc., No. 13 Civ. 560, 2016 WL

 3189202, at *9 (E.D. Wis. June 7, 2016); Ocean Atl. Woodland Corp. v. DRH Cambridge

 Homes, Inc., No. 02 Civ. 2523, 2003 WL 1720073, at *8 (N.D. Ill. Mar. 31, 2003). Defendants

 will show that Plaintiff did so here by, among other things, delaying to bring this lawsuit until

 years after she inked Mr. Orton and his tattoos appeared in media, including the WWE 2K games.

        Despite this clear law, Plaintiff has indicated that she disputes the elements of waiver

 described above and intends to submit a trial brief on the issue. She has not explained what she




                                                  6
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 13 of 21 Page ID #4471




 believes is in dispute, but Defendants believe that the law is straightforward on these elements

 and that the Court should apply the elements of waiver outlined above.

                3.      The Elements of the Affirmative Defense of Estoppel

        Separately from Defendants’ waiver defense, they assert an affirmative defense of

 estoppel. As shown in the First Amended Final Pretrial Order, the parties agree that, unlike

 waiver, which is decided by the jury, estoppel is decided by the Court. 1st Am. Final Pretrial

 Ord. 5; see Granite State Ins. Co. v. Smart Modular Techs., Inc., 76 F.3d 1023, 1027 (9th Cir.

 1996) (“A litigant is not entitled to have a jury resolve a disputed affirmative defense if the

 defense is equitable in nature.”).

        In this case, Defendants have asserted that Plaintiff is estopped from asserting her

 copyrights in the tattoos that she inked on Mr. Orton. Answ. (Dkt. No. 188) ¶ 106. To establish

 their estoppel defense, Defendants need show only that Plaintiff was aware of Defendants’ use of

 the Tattoos, yet acted in a way that induced them to reasonably rely upon such action to their

 detriment. See Soos & Assocs., 425 F. Supp. 3d at 1012 (“[E]stoppel applies only if the

 copyright owner is aware of the infringing conduct yet acts in a way that induces the infringer

 reasonably to rely upon such action to his detriment.” (quoting Bourne Co. v. Hunter Country

 Club, Inc., 990 F.2d 934, 937 (7th Cir. 1993)); Design Basics, 2016 WL 3189202, at *9. Again,

 Plaintiff’s delay in bringing this suit despite being fully aware of Mr. Orton’s depiction in media,

 including WWE 2K, precludes her claim.

        Despite this clear law, Plaintiff has indicated that she disputes the elements of estoppel

 described above and intends to submit a trial brief on the issue. She has not explained what she

 believes is in dispute, but Defendants again believe that the law is straightforward on these

 elements and that the Court should apply the elements of estoppel outlined above.




                                                   7
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 14 of 21 Page ID #4472




         C.        Damages-Related Issues

                   1.       Whether it is the Jury or the Court That Decides the Amount of
                            Disgorgement Damages

         In the event that the jury determines that Defendants are liable for copyright

 infringement, then the Court should determine the amount, if any, of Defendants’ profits that

 should be awarded to Plaintiff because it is black-letter law that there is no right to a jury trial on

 equitable remedies. See Tull v. United States, 481 U.S. 412, 417 (1987) (holding that “actions

 that are analogous to 18th-century cases tried in courts of equity or admiralty do not require a

 jury trial”). The Supreme Court and the Seventh Circuit agree that disgorgement of profits is an

 equitable remedy. For example, in Chauffeurs, Teamsters & Helpers, Local No. 391 v. Terry,

 the Supreme Court noted that disgorgement is a form of restitutionary damages that it

 “characterize[s] . . . as equitable.” 494 U.S. 558, 570 (1990) (quoting Tull, 481 U.S. at 424)).

 Likewise, in Fuller Products Co. v. Fuller Brush Co., the Seventh Circuit held that

 disgorgement, then referred to as an “accounting for profits,” is “an equitable remedy.” 299 F.2d

 772, 777 (7th Cir. 1962).2

         The Supreme Court even has specifically addressed disgorgement of profits under

 Section 504(b) of the Copyright Act, and noted that it is a form of “equitable” relief. Petrella v.

 Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 668, 668 n.1 (2014). After Petrella, courts have

 examined both the text of the Copyright Act and the Seventh Amendment and held that there is

 no right to a jury trial on disgorgement of profits in an action for copyright infringement.

 Starting with the text of the Copyright Act, the court in Navarro v. Procter & Gamble Co., held


 2
     Other appellate courts agree. E.g., Tex. Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc., 895
     F.3d 1304, 1326 (Fed. Cir. 2018) (finding “no right to a jury decision on [plaintiff’s] request for disgorgement
     of . . . profits”); Hard Candy, LLC v. Anastasia Beverly Hills, Inc., 921 F.3d 1343, 1359 (11th Cir. 2019) (“an
     accounting and disgorgement of a defendant’s profits . . . is equitable in nature and does not carry with it a right
     to a jury trial”).



                                                            8
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 15 of 21 Page ID #4473




 that the Copyright Act does not indicate that disgorgement of profits requires a jury trial and that,

 because “[w]hen Congress wants to create a right to trial by jury, it knows how to say so,” no

 such right exists. No. 1:17 Civ. 406, 2021 WL 1169084, at *3 (S.D. Ohio Mar. 29, 2021).

 Similarly, in Fair Isaac Corp. v. Federal Insurance Co., the court held there was no right to a

 jury trial on disgorgement, finding that “Section 504(b), which does not expressly provide a right

 to a jury determination on actual damages and profits, also does not implicitly provide such a

 right.” 468 F. Supp. 3d 1110, 1114 (D. Minn. 2020); see also Motorola Sols., Inc. v. Hytera

 Commc’ns Corp., 495 F. Supp. 3d 687, 708 (N.D. Ill. 2020) (“With respect to the copyright

 award . . . the jury’s award was equitable in nature and thus an advisory verdict.”).

         Courts also have concluded that the Seventh Amendment does not provide a

 constitutional right to a jury trial on disgorgement of profits. For example, in Navarro, the court

 noted that “[t]he Constitution creates a right to a jury for legal remedies, but not for equitable

 remedies.” 2021 WL 1169084, at *6. “[E]ven if ‘the suit’ is legal, and thus gives rise to a jury

 trial right in general, the court must also examine ‘the particular trial decision’ at issue, to see

 whether there is a jury trial right as to that issue.” Id. (quoting City of Monterey v. Del Monte

 Dunes at Monterey, Ltd., 526 U.S. 687, 708 (1999). Thus, the constitutional question is

 “whether the profits-based remedy in § 504(b) is a legal remedy, in which case there is a

 constitutional right to a jury, or an equitable remedy, in which case there is not.” Navarro, 2021

 WL 1169084, at *6. “Based on the history of the disgorgement award in actions for copyright

 infringement,” the Navarro court found “little question that such awards are equitable, rather

 than legal.” Id.; see also Tex. Advanced Optoelectronic Sols., 895 F.3d at 1324–25 (“As for

 copyright and trademark infringement, we have seen no support for concluding that

 disgorgement of profits was available at law for those wrongs.”). The Fair Isaac court reached




                                                    9
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 16 of 21 Page ID #4474




 the same conclusion. 468 F. Supp. 3d at 1118 (“Fair Isaac presents no sound legal basis to

 conclude that the courts of law in 1791 would have awarded disgorgement of a defendant's

 profits as a remedy for copyright infringement.”).3

         Despite this clear law, Plaintiff contends in the First Amended Final Pretrial Order that

 there is a right to a jury on the amount of damages that might be disgorged. 1st Am. Final

 Pretrial Ord. 5 n.4. The cases on which she relies, however, are all merely situations in which no

 party raised the jury-right issue, and thus the court had no reason to address it. See McRoberts

 Software, Inc. v. Media 100, Inc., 329 F.3d 557, 567–69 (7th Cir 2003) (no party objecting to use

 of jury for determining disgorgement award); Gaste v. Kaiserman, 863 F.2d 1061, 1069-1070

 (2d Cir. 1988) (same); Balsley v. LFP, Inc., 691 F.3d 747, 767 (6th Cir. 2012) (same); ECIMOS

 LLC v. Carrier Corp., 971 F.3d 616 (6th Cir. 2020) (same).

         Defendants have not provided their consent to send the issue to the jury in this case. See

 Navarro, 2021 WL 1169084, at *6 (“absent objection, as already noted, any matter can go to the

 jury” (emphasis added)). Instead, the jury should be permitted to provide the Court with an

 advisory verdict for the Court’s consideration with the issue of disgorgement ultimately decided

 by this Court. See Motorola, 495 F. Supp. 3d at 708 (treating jury verdict of disgorgement as

 advisory).




 3
     Appellate courts that have addressed this issue in the context of disgorgement of profits for trademark
     infringement and trade secret misappropriation have also reached the same conclusion. See Fifty-Six Hope Rd.
     Music, Ltd. v. A.V.E.L.A., Inc., 778 F.3d 1059, 1065 (9th Cir. 2015) (“The Seventh Amendment does not require
     that a jury calculate these profits, because juries have not traditionally done so, and a claim for profit
     disgorgement is equitable in nature.”); Hard Candy, 921 F.3d at 1359 (“All of this leads us to the conclusion
     that an accounting and disgorgement of a defendant’s profits in a trademark infringement case is equitable in
     nature and does not carry with it a right to a jury trial.”); Tex. Advanced Optoelectronic Sols., 895 F.3d at 1325
     (“We conclude that no such [disgorgement] remedy would have been available at law for the trade secret
     misappropriation here, either.”).



                                                          10
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 17 of 21 Page ID #4475




                 2.      The Respective Burdens of Proof and Evidentiary Issues Related to
                         Disgorgement of Profits

          Finally, there are two disputed issues related to Plaintiff’s obligations with regard to

 damages. First, as indicated in the First Amended Final Pretrial Order, the parties disagree about

 Plaintiff’s failure to itemize her disgorgement damages, 1st Am. Pretrial Ord. 8 n.7, as well as

 her refusal to indicate whether she is seeking actual damages, id. at 9 n.10. Second, the parties

 disagree about Plaintiff’s burden to show a causal connection between the alleged infringement

 and Defendants’ profits allegedly attributable to the infringement. We discuss each issue in turn

 below.

                         a.      Itemization of Profits Sought is Required

          The Federal Rules, Local Rules, and Your Honor’s Case Management Procedures all

 require an itemization of all damages sought at trial. See Fed. R. Civ. P. 26(A)(1)(a)(iii) (party is

 required to disclose “a computation of each category of damages claimed by the disclosing

 party”); S.D. Ill. Local Rule 16.2(b)(3)(I) (final pretrial order must include “itemized statements

 of all damages by all parties” (emphasis added)); Case Management Procedures of Judge Staci

 M. Yandle 6 (“Counsel shall jointly prepare a Final Pretrial order using Judge Yandle’s approved

 form,” which is available at http://www.ilsd.uscourts.gov/documents/SMYFPTOrder.docx; the

 form states that the “parties should insert here . . . an itemization of all damages sought in this

 case.” (emphasis added)).

          Itemization requires more than merely listing the types of damages sought. Rather, as the

 court in Toney v. Rosewood Care Ctr., Inc. held, it is the “amounts [the plaintiff] would be

 asking the jury to award.” No. 98 Civ. 693, 2002 WL 992642, at *2 (N.D. Ill. May 15, 2002),

 aff’d, 62 F. App’x 697, 701 (7th Cir. 2003) (noting that “the district court . . . concluded that the

 absence of an itemization of damages in the pretrial order significantly impaired preparation of



                                                   11
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 18 of 21 Page ID #4476




 the case”). Here, it is particularly important that Plaintiff inform the Court and Defendants of the

 damages she will be seeking because she is not entitled to all of Defendants’ revenues, but rather

 only the portion attributable to the five tattoos she claims were infringed after the deduction of

 expenses and the elements of profit attributable to factors other than Plaintiff’s alleged

 copyrighted works. Because it is not plausible (and Plaintiff does not even contend) that all of

 Defendants’ revenues from the WWE 2K games were attributable to the five tattoos Plaintiff

 claims were infringed, it would be confusing and prejudicial to send only Defendants’ revenues

 to the fact-finder. The Rules are intended to avoid trial by surprise and avoid parties waiting

 until the presentation of evidence to identify information such as this. See Toney, 2002 WL

 992642, at *2.

                            b.       A Plaintiff Cannot Obtain Lost Profits without Showing That a
                                     Causal Nexus Exists Between those Profits and Infringement4

         “The Copyright Act permits a plaintiff to recover an infringer’s profits that are

 ‘attributable to the infringement . . . .’” Bell v. Taylor, 827 F.3d 699, 710 (7th Cir. 2016) (quoting

 17 U.S.C. § 504(b)). The Seventh Circuit has held that this means that “a plaintiff must show a

 causal nexus between the infringement and the gross revenues.” Bell, 827 F.3d at 710; see Eagle

 Servs. Corp. v. H2O Indus. Servs., Inc., 532 F.3d 620, 623 (7th Cir. 2008) (“It is doubtful that

 profits from the sale of noninfringing goods or services (in this case, H2O’s clean-up services)

 can be attributed to a copyright infringement with enough confidence to support a judgment.”);

 Taylor v. Meirick, 712 F.2d 1112, 1122 (7th Cir. 1983) (“If General Motors were to steal your

 copyright and put it in a sales brochure, you could not just put a copy of General Motors’


 4
     Defendants are cognizant of Your Honor’s Case Management Procedures’ prohibition on trial briefs that rehash
     issues from dispositive motion briefing. Plaintiff indicated to Defendants that she intends to file a trial brief on
     evidentiary issues related to disgorgement of profits, and the Court’s summary judgment order did not address
     this issue with regard to disgorgement of profits. Dkt No. 228, 12–13. Thus, Defendants submit this brief in
     response to any argument that Plaintiff may raise in her trial brief.



                                                           12
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 19 of 21 Page ID #4477




 corporate income tax return in the record and rest your case for an award of infringer’s profits.”);

 see also Leigh v. Engle, 727 F.2d 113, 138 (7th Cir. 1984) (“The owner of a copyright may

 recover the infringer’s profits, but only those attributable to the infringement and not to the

 infringer’s own efforts and talents.” (citing Sheldon v. Metro-Goldwyn Pictures Corp., 106 F.2d

 45, 49 (2d Cir. 1939))).

         Relying on this Seventh Circuit authority, for example, the court in Sullivan v. Flora,

 Inc., excluded a profits-based damages theory in an action for copyright infringement because

 the plaintiff had “no evidence that her illustrations attracted more customers or drove more sales

 of defendant’s products,” where her illustrations were used in advertising videos. No. 15-Civ-

 298, 2017 WL 1487624, at *2 (W.D. Wis. Apr. 25, 2017) (“[P]laintiff was unable to offer any

 evidence of customer surveys concerning what drove purchasing decisions, a marketing or

 damages expert discussing the role of two-dimensional art, like plaintiff’s illustrations, in

 advertising as a driver of revenue, or earlier statements by defendant, customers or competitors

 about the value of those infringing illustrations in driving sales”).5 Thus, Plaintiff must prove

 that there is a causal nexus between the alleged infringement and Defendants’ profits before the

 burden shifts to Defendants to prove the expenses and the elements of profit attributable to

 factors other than Plaintiff’s alleged copyrighted works.




 5
     Outside of the Seventh Circuit, numerous other appellate courts have concluded that a copyright owner must
     show a causal nexus between the infringement and the gross revenue figure presented. See, e.g., On Davis v.
     The Gap, Inc., 246 F.3d 152, 159 (2d Cir. 2001) (plaintiff “failed to show any causal connection between the
     infringement and the defendant’s profits”); Dash v. Mayweather, 731 F.3d 303, 309 (4th Cir. 2013) (plaintiff
     “failed to present evidence demonstrating a causal link between the alleged infringement and the enhancement
     of any revenue stream claimed”); Polar Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 712 (9th Cir. 2004)
     (noting plaintiff’s “statutory obligation to demonstrate a causal nexus between the infringement and the profits
     sought”); Univ. of Colorado Found., Inc. v. Am. Cyanamid Co., 196 F.3d 1366, 1375 (Fed. Cir. 1999) (plaintiff
     “had the burden to show . . . connection” between revenue and infringement).



                                                         13
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 20 of 21 Page ID #4478




 III.   CONCLUSION

        Defendants will present the evidence at trial described herein, and therefore requests

 appropriate jury instructions concerning the issues discussed above.

  Dated: September 3, 2021                   Respectfully submitted,

                                             /s/ Dale M. Cendali
                                             Dale M. Cendali (admitted pro hac vice)
                                             Joshua L. Simmons (admitted pro hac vice)
                                             Christopher T. Ilardi (admitted pro hac vice)
                                             Miranda D. Means (admitted pro hac vice)
                                             Kirkland & Ellis LLP
                                             601 Lexington Avenue
                                             New York, New York 10022
                                             Telephone: (212) 446-4800
                                             dale.cendali@kirkland.com
                                             joshua.simmons@kirkland.com
                                             chris.ilardi@kirkland.com
                                             miranda.means@kirkland.com

                                             Michael J. Nester (#02037211)
                                             Donovan Rose Nester P.C.
                                             15 North 1st Street, Suite A
                                             Belleville, Illinois 62220
                                             Telephone: (618) 212-6500
                                             mnester@drnpc.com

                                             Attorneys for Defendants Take-Two Interactive
                                             Software, Inc., 2K Games, Inc., 2K Sports, Inc.,
                                             and Visual Concepts Entertainment



                                             /s/ Curtis Krasik (with consent)
                                             Jerry McDevitt (admitted pro hac vice)
                                             Curtis Krasik (admitted pro hac vice)
                                             K&L Gates LLP
                                             210 Sixth Avenue
                                             Pittsburgh, Pennsylvania 15222
                                             Telephone: (412) 355-8608
                                             jerry.mcdevitt@klgates.com
                                             curtis.krasik@klgates.com

                                             Michael J. Nester (#02037211)



                                                14
Case 3:18-cv-00966-SMY Document 247 Filed 09/03/21 Page 21 of 21 Page ID #4479




                                   Donovan Rose Nester P.C.
                                   15 North 1st Street, Suite A
                                   Belleville, Illinois 62220
                                   Telephone: (618) 212-6500
                                   mnester@drnpc.com

                                   Attorneys for World Wrestling Entertainment,
                                   Inc.




                                      15
